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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

CALVIN JACKSON,                       )
                                      )
                        Plaintiff,    )
                                      )
                v.                    )      Case No.: 1:19-cv-1019
                                      )
REGIONS BANK,                         )
                                      )
                        Defendant.    )

                                     NOTICE OF REMOVAL
        Defendant Regions Bank (the “Bank”) by counsel and pursuant to 28 U.S.C. §§ 1441 and

1446, hereby give notice of the removal of this action from the Marion County Superior Court of

the State of Indiana to the United States District Court for the Southern District of Indiana. In

support of this Notice of Removal, The Bank states as follows:

        1.      On January 11, 2019, Plaintiff Calvin Jackson (“Plaintiff”) filed a Complaint in

the Marion County Superior Court of the State of Indiana captioned Calvin Jackson v. Regions

Bank, Cause No. 49D11-1901-PL-001644 (the “State Court Action”).

        2.      The Bank received a summons and the Complaint with respect to this action on

February 11, 2019. This was the first receipt by the Bank through service or otherwise of a copy

of the initial pleadings.

        3.      The Complaint purports to assert claims for relief for violations of the Telephone

Consumer Protection Act and knowing and/or willful violations of the Telephone Consumer

Protection Act, 47 U.S.C. § 227 et seq.

        4.      This Notice of Removal is filed within thirty (30) days of service and receipt of

the Summons and/or Complaint on the Bank and, therefore, is timely within the meaning of and

pursuant to 28 U.S.C. § 1446(b).
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       5.      As required by 28 U.S.C. §1446(a), copies of all process, pleadings and orders

received by the Bank and filed by the Bank in the State Court Action to date are attached hereto

as collective Exhibit A.

       6.      The United States District Court for the Southern District of Indiana possesses

original jurisdiction of these claims pursuant to 28 U.S.C. § 1331 because the State Court Action

arises under the federal laws of the United States.

       7.      The State Court Action is properly removable pursuant to 28 U.S.C. §1441(a).

       8.      Venue rests with the United States District Court, Southern District of Indiana,

Indianapolis Division, because the action is being removed from Marion Superior Court, Marion

County, State of Indiana and Plaintiff resides in Marion County, Indiana.

       9.      The Bank is promptly filing a copy of this Notice of Removal with the Clerk of

the Marion County Superior Court, State of Indiana, and serving a copy Notice of Removal upon

Plaintiff, as required by 28 U.S.C. §1446(d).

       10.     The undersigned has been authorized by the Bank, whom they represent, to file

this Notice of Removal.

       11.     The undersigned counsel is licensed to practice law in the State of Indiana and is

authorized to practice law in the United States District Court for the Southern District of Indiana.

       12.     A Civil Cover Sheet has been completed and is attached hereto as Exhibit B.

       13.     Payment of the applicable filing fee is also being properly handled by the Bank.

       14.     The Bank removes this case subject to and without waiver of any challenges that

it may have as to personal jurisdiction, proper venue, or any other claims or defenses that may be

available, all of which are expressly reserved.




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       15.     By removing this action, The Bank does not admit any of the allegations in the

Complaint.

       16.     The Bank respectfully reserves the right to amend or supplement this Notice of

Removal as may be appropriate.

                                         CONCLUSION

       WHEREFORE Defendant Regions Bank hereby removes this action from the Marion

County Superior Court of the State of Indiana to the United States District Court for the Southern

District of Indiana, and respectfully requests that this Court enter such other and further orders as
may be necessary to accomplish the requested removal.

                                              Respectfully submitted,


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                                              Attorneys for Defendant, Regions Bank




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                                CERTIFICATE OF SERVICE

        I hereby certify that on this 13th day of March, 2019, a copy of the foregoing was filed
electronically. Service of this filing will be made on all ECF-registered counsel by operation of
the Court’s electronic filing system. Parties may access this filing through the Court’s system.

                                        Ryan R. Frasher
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                                             Scott S. Morrisson



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